                                                                             Case 18-12456-gs         Doc 223      Entered 12/08/20 19:24:10      Page 1 of 11



                                                                     1   John D. Fiero (CA Bar No. 136557)                          Electronically filed December 8, 2020
                                                                         Gail S. Greenwood (CA Bar No. 169939)
                                                                     2   PACHULSKI STANG ZIEHL & JONES LLP
                                                                         150 California Street, 15th Floor
                                                                     3   San Francisco, CA 94111-4500
                                                                         Telephone: 415/263-7000
                                                                     4   Facsimile: 415/263-7010
                                                                         E-mail: jfiero@pszjlaw.com
                                                                     5            ggreenwood@pszjlaw.com

                                                                     6   GHANDI DEETER BLACKHAM
                                                                         SHARA L. LARSON, ESQ.
                                                                     7   Nevada Bar No. 7786
                                                                         Email: shara@ghandilaw.com
                                                                     8   725 S. 8th St., Suite 100
                                                                         Las Vegas, Nevada 89101
                                                                     9   Tel: (702) 878-1115

                                                                    10   [Proposed] Special Litigation Counsel to
                                                                         Kavita Gupta, Chapter 11 Trustee
                                                                    11
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                    12                                UNITED STATES BANKRUPTCY COURT
                                        SAN FRANCISCO, CALIFORNIA




                                                                    13                                          DISTRICT OF NEVADA
                                            ATTORNEYS AT LAW




                                                                    14   In re:                                                Case No.: bk-s-18-12456-gs

                                                                    15   DESERT OASIS APARTMENTS, LLC,                        Chapter 11

                                                                    16                                                         Hearing Date: December 10, 2020
                                                                                                         Debtor.               Time:         10:00 a.m.
                                                                    17

                                                                    18
                                                                            FIRST AMENDED APPLICATION OF THE CHAPTER 11 TRUSTEE FOR ORDER
                                                                    19      APPROVING EMPLOYMENT OF PACHULSKI STANG ZIEHL & JONES LLP AS
                                                                                             SPECIAL LITIGATION COUNSEL
                                                                    20
                                                                                  Kavita Gupta, the duly appointed Chapter 11 Trustee in the above-captioned bankruptcy case
                                                                    21
                                                                         (the “Trustee”), hereby applies to the Court (the “Amended Application”) for entry of an order
                                                                    22
                                                                         pursuant to sections 327(a) and 330 of title 11 of the United States Code (the “Bankruptcy Code”)
                                                                    23
                                                                         and Rule 2014(a) of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”)
                                                                    24
                                                                         authorizing the Trustee’s retention and employment of the Pachulski Stang Ziehl & Jones LLP
                                                                    25
                                                                         (“PSZJ” or the “Firm”) 1 as special litigation counsel for the above-captioned estate to investigate
                                                                    26
                                                                         and object to the Claim (defined below) on an hourly basis effective as of October 15, 2020. This
                                                                    27

                                                                    28


                                                                         DOCS_SF:104374.5 68700/001
                                                                             Case 18-12456-gs          Doc 223      Entered 12/08/20 19:24:10        Page 2 of 11



                                                                     1   Amended Application is supported by the original Declaration of John Fiero filed herein with the

                                                                     2   Trustee’s original application, as well as the Supplemental Declaration of John Fiero filed and

                                                                     3   served herewith. The location and telephone number of the Firm is:

                                                                     4            Pachulski Stang Ziehl & Jones LLP
                                                                                  150 California Street, 15th Floor
                                                                     5            San Francisco, California 94111
                                                                                  Tel: (415) 236-7000
                                                                     6

                                                                     7                                                        I.

                                                                     8                                                JURISDICTION

                                                                     9            1.       The Court has jurisdiction over the Amended Application pursuant to 28 U.S.C. §§

                                                                    10   157 and 1334. This matter is a core proceeding within the meaning of 28 U.S.C. § 157(b)(2). Venue

                                                                    11   of this proceeding and this Amended Application is properly in this District pursuant to 28 U.S.C. §§
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                    12   1408 and 1409.
                                        SAN FRANCISCO, CALIFORNIA




                                                                    13            2.       The statutory bases for the relief sought herein are sections 327(a) and 330 of the
                                            ATTORNEYS AT LAW




                                                                    14   Bankruptcy Code and Rule 2014(a) of the Bankruptcy Rules.

                                                                    15                                                       II.

                                                                    16                                                BACKGROUND

                                                                    17            The Bankruptcy Cases.

                                                                    18            3.       On or about April 30, 2018, Bradley J. Busbin, as Trustee of the Gonzales Charitable

                                                                    19   Remainder Unitrust One, filed involuntary chapter 7 bankruptcy petitions against Desert Oasis

                                                                    20   Apartments, LLC (the “Debtor”) (case number 18-12456-gs) and three other debtors, Desert Land,

                                                                    21   LLC (“Desert Land”) (case number 18-12454-gs), Desert Oasis Investments, LLC (“Desert

                                                                    22   Investments”) (case number 18-12457-gs), and SkyVue Las Vega, LLC (“SkyVue”) case number

                                                                    23   18-12458-gs) (the Debtor, Desert Land, Desert Investments, and SkyVue collectively, the “Desert

                                                                    24   Entities”).

                                                                    25            4.       The involuntary bankruptcies were initiated as a result of a judgment in favor of the

                                                                    26   petitioning creditor and against each of the Desert Entities in the amount of approximately $13

                                                                    27   million entered by the United States District Court for the District of Nevada on or about April 25,

                                                                    28   2018.


                                                                         DOCS_SF:104374.5 68700/001
                                                                             Case 18-12456-gs          Doc 223      Entered 12/08/20 19:24:10        Page 3 of 11



                                                                     1            5.       On May 23, 2018, along with certain first day motions, the Desert Entities filed a

                                                                     2   Motion to Substantively Consolidate Cases [Docket Nos. 8-10] of the Desert Entities. On the same

                                                                     3   date, the Desert Entities also filed a Motion for Conversion of Cases to Chapter 11 [Docket Nos. 11-

                                                                     4   12]. On May 29, 2018, the Desert Entities filed amended versions of each of the foregoing motions.

                                                                     5   [Docket Nos. 28-32].

                                                                     6            6.       At a hearing on June 26, 2018, at 2:30 p.m., the Court made findings and conclusions

                                                                     7   on the record and denied without prejudice the motion to substantively consolidate the cases. By

                                                                     8   order entered June 29, 2018, the Court converted the cases of each of the Desert Entities to chapter

                                                                     9   11. [Docket No. 65].

                                                                    10            7.       By order entered July 6, 2018, the Court denied substantive consolidation and

                                                                    11   directed the joint administration of the Debtor’s case with that of Desert Land, Desert Investments,
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                    12   and SkyVue under lead case number 18-12454. See Order entered July 6, 2018 [Docket No. 90; and
                                        SAN FRANCISCO, CALIFORNIA




                                                                    13   Docket No. 94, Omnibus Notice of Entry of Orders].
                                            ATTORNEYS AT LAW




                                                                    14            8.       By order entered March 21, 2019, the Court granted the motion filed by petitioning

                                                                    15   creditor Busbin to appoint a chapter 11 trustee for cause under Bankruptcy Code section 1104. On

                                                                    16   March 27, 2019, the United States Trustee filed a Notice of Appointment of Chapter 11 Trustee for

                                                                    17   the Bankruptcy Estates of Desert Land, LLC, Desert Oasis Apartments, LLC, and Desert Oasis

                                                                    18   Investments, LLC [Docket No. 522], by which the Trustee was appointed as chapter 11 trustee in

                                                                    19   each of the cases of the Debtor, Desert Land, and Desert Investments.

                                                                    20            9.       Immediately after her appointment, the Trustee actively pursued sales of the estates’

                                                                    21   real property. On June 30, 2020, the Trustee sold the Debtor’s real property for $15.6 million

                                                                    22   [Docket No. 1264].

                                                                    23            10.      The Trustee is conducting a claims analysis and she will file a liquidating plan in the

                                                                    24   near future.

                                                                    25            The Claim by Desert Land Against the Debtor.

                                                                    26            11.      On June 15, 2020, the United States Trustee filed a Notice of Appointment of Jeffrey

                                                                    27   I. Golden as Successor Chapter 11 Trustee for the Bankruptcy Estate of Desert Land, LLC [Desert

                                                                    28   Land Docket No. 1265] by which Mr. Golden became trustee of the estate of Desert Land.


                                                                         DOCS_SF:104374.5 68700/001
                                                                              Case 18-12456-gs         Doc 223     Entered 12/08/20 19:24:10         Page 4 of 11



                                                                     1            12.      On September 23, 2020, Mr. Golden on behalf of Desert Land filed proof of claim

                                                                     2   number 3-1 (the “Claim”) against the Debtor in the amount of “at least $78,000,000” based on an

                                                                     3   alleged account stated of approximately $4.5 million and “the amount of non-insider claims against

                                                                     4   Desert Land based on substantive consolidation and alter ego causes of action.”

                                                                     5            13.      The Trustee disputes the Claim, including the alleged account scheduled by David

                                                                     6   Gaffin, the manager of the Debtor, for the benefit of Desert Land in 2018. Moreover, the Debtor and

                                                                     7   Desert Land are not substantively consolidated. The Trustee disputes that substantive consolidation

                                                                     8   is warranted or that sufficient facts exist to conclude that the Debtor and Desert Land and/or any

                                                                     9   other alleged affiliated entities acted as a single unitary entity, such that the Debtor is or was the alter

                                                                    10   ego of Desert Land. The Trustee seeks to employ special counsel to investigate and object to the

                                                                    11   Claim.
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                    12                                                      III.
                                        SAN FRANCISCO, CALIFORNIA




                                                                    13                                           RELIEF REQUESTED
                                            ATTORNEYS AT LAW




                                                                    14            By this Amended Application, the Trustee seeks to employ and retain PSZJ pursuant to 11

                                                                    15   U.S.C. sections 327(a) and 330 as the estate’s special litigation counsel, on a reduced hourly fee

                                                                    16   basis described below to represent the Trustee in connection with the investigation and objection to

                                                                    17   the Claim.

                                                                    18                                                      IV.
                                                                    19                   THE COURT SHOULD AUTHORIZE THE TRUSTEE TO RETAIN
                                                                                                 PSZJ AS SPECIAL LITIGATION COUNSEL
                                                                    20

                                                                    21   A.       The Trustee’s Decision to Retain PSZJ.

                                                                    22            The Trustee seeks to retain PSZJ to investigate and object to the Claim because PSZJ is

                                                                    23   qualified and experienced in similar matters. PSZJ should be retained because: (i) the Firm has

                                                                    24   experience litigating complex matters, including substantive consolidation of debtors and alter ego

                                                                    25   disputes on both sides of the equation, and (ii) the Firm has extensive experience in bankruptcy and

                                                                    26   multi-debtor reorganizations. Based on current pandemic procedures, the Trustee expects that travel

                                                                    27   for court appearances and/or depositions will be minimal, particularly since Trustee Golden and his

                                                                    28   counsel are located in California. As discussed in further detail below, the Firm is highly qualified


                                                                         DOCS_SF:104374.5 68700/001
                                                                              Case 18-12456-gs        Doc 223     Entered 12/08/20 19:24:10          Page 5 of 11



                                                                     1   to handle the anticipated litigation associated with the Claim.

                                                                     2   B.       PSZJ Is Qualified To Represent The Trustee.

                                                                     3            The Trustee seeks authority to retain PSZJ as special litigation counsel to investigate and

                                                                     4   object to the Claim. PSZJ has extensive experience representing both plaintiffs and defendants in

                                                                     5   complex, high stakes litigation around the country. PSZJ’s website, www.pszjlaw.com, describes

                                                                     6   many of the firm’s cases. PSZJ’s successes include judgments and settlements on behalf of the

                                                                     7   chapter 11 trustees in the Ezri Namvar and Namco Capital Group cases, companies that raised

                                                                     8   hundreds of millions of dollars from private investors to purchase real estate. The investors filed

                                                                     9   involuntary petitions based on debts in excess of $500 million, and the Firm acted as special

                                                                    10   litigation counsel to resolve and recover significant fraudulent transfers conveyed to third parties and

                                                                    11   under factual circumstances involving broad allegations of alter ego. In addition, the Firm has
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                    12   successfully opposed substantive consolidation of debtors in numerous cases in the Ninth Circuit and
                                        SAN FRANCISCO, CALIFORNIA




                                                                    13   across the country.
                                            ATTORNEYS AT LAW




                                                                    14            The Trustee has selected PSZJ because of its breadth of experience and knowledge in

                                                                    15   representing plaintiffs in complex, high stakes commercial litigation. John D. Fiero will be the

                                                                    16   primary attorney in charge of this representation for PSZJ. Other highly qualified attorneys in the

                                                                    17   Firm, including Gail S. Greenwood, will assist him. More detailed statements of the professional

                                                                    18   experience of Mr. Fiero and Ms. Greenwood are attached collectively as Exhibit A hereto. The

                                                                    19   Trustee believes that PSZJ’s retention is in the best interest of the estate.

                                                                    20   C.       PSZJ Is Disinterested and Does Not Hold or Represent and Adverse Interest.

                                                                    21            To the best of the Trustee’s knowledge and as described in the supporting Declaration of

                                                                    22   John D. Fiero (the “Fiero Declaration”), submitted herewith, PSZJ is “disinterested” as that term is

                                                                    23   defined in 11 U.S.C. section 101(14) in that it has no connection with the Trustee, the Debtor, the

                                                                    24   creditors (including the creditors of a companion debtor, Desert Land, LLC), any other party-in-

                                                                    25   interest herein, their respective attorneys or professionals, the United States Trustee or any person

                                                                    26   employed in the Office of the United States Trustee. Except as disclosed in the Fiero Declaration,

                                                                    27   PSZJ also does not hold, or represent any entity having an adverse interest to the Debtor or the

                                                                    28   estate. PSZJ also does not employ any person who is related to a judge of this Court. Accordingly,


                                                                         DOCS_SF:104374.5 68700/001
                                                                              Case 18-12456-gs        Doc 223     Entered 12/08/20 19:24:10         Page 6 of 11



                                                                     1   PSZJ is qualified to represent the Trustee and serve as special litigation counsel.

                                                                     2   D.       PSZJ’s Compensation.

                                                                     3            The Trustee proposes to pay PSZJ on a reduced hourly fee basis and to reimburse the Firm

                                                                     4   for its expenses. Specifically, the Trustee has agreed to pay PSZJ an hourly rate based on the lower

                                                                     5   of (a) the attorneys’ actual hourly rates for the case, or (b) $800 per hour for all attorney

                                                                     6   timekeepers. PSZJ has also agreed not to increase its attorneys’ hourly rates for the duration of its

                                                                     7   representation. John Fiero’s hourly rate is $950 per hour; Gail Greenwood’s hourly rate is $825 per

                                                                     8   hour. The rates of other PSZJ attorneys who may assist with the litigation range between $650 and

                                                                     9   $995 per hour. The standard rate of PSZJ paralegals who may assist with the litigation is $425 per

                                                                    10   hour.

                                                                    11            PSZJ will be reimbursed for all actual out-of-pocket expenses. No retainer has been paid to
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                    12   PSZJ in connection with the proposed engagement.
                                        SAN FRANCISCO, CALIFORNIA




                                                                    13            WHEREFORE, the Trustee respectfully requests that this Court approve the employment of
                                            ATTORNEYS AT LAW




                                                                    14   PSZJ as special litigation counsel under Bankruptcy Code sections 327(a) and 330 to perform the

                                                                    15   legal services described in the original Fiero Declaration, effective October 15, 2020.

                                                                    16   Dated: December 8, 2020
                                                                    17
                                                                                                                        By      /s/ Kavita Gupta
                                                                    18                                                          Kavita Gupta, Chapter 11 Trustee
                                                                    19

                                                                    20

                                                                    21

                                                                    22

                                                                    23

                                                                    24

                                                                    25

                                                                    26

                                                                    27

                                                                    28


                                                                         DOCS_SF:104374.5 68700/001
                                                                             Case 18-12456-gs         Doc 223     Entered 12/08/20 19:24:10   Page 7 of 11



                                                                     1                                                EXHIBIT A

                                                                     2                                          (Professional Biographies)

                                                                     3

                                                                     4

                                                                     5

                                                                     6

                                                                     7

                                                                     8

                                                                     9

                                                                    10

                                                                    11
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                    12
                                        SAN FRANCISCO, CALIFORNIA




                                                                    13
                                            ATTORNEYS AT LAW




                                                                    14

                                                                    15

                                                                    16

                                                                    17

                                                                    18

                                                                    19

                                                                    20

                                                                    21

                                                                    22

                                                                    23

                                                                    24

                                                                    25

                                                                    26

                                                                    27

                                                                    28


                                                                         DOCS_SF:104374.5 68700/001
Case 18-12456-gs   Doc 223   Entered 12/08/20 19:24:10   Page 8 of 11




     EXHIBIT A
             Case 18-12456-gs          Doc 223        Entered 12/08/20 19:24:10     Page 9 of 11




150 California Street
15th Floor                        John D. Fiero
San Francisco, CA
94111-4500                        Tel: 415.263.7000     |   jfiero@pszjlaw.com



EDUCATION                         Mr. Fiero serves as a co-chair of the firm's Committee Practice Group and
University of Massachusetts
                                  maintains a national practice representing debtors, committees, acquirers,
(B.A. 1985)                       and other significant parties in interest in complex reorganizations and
                                  financially distressed situations, both in and out of court.
Hastings College of the Law,
University of California (J.D.,   Mr. Fiero is a graduate of the University of Massachusetts at Amherst and
cum laude, 1988)                  received his J.D. from Hastings College of the Law, where he was associate
                                  note editor for the Hastings Journal of Communications and Entertainment
BAR AND COURT                     Law.
ADMISSIONS
1988, California                  Mr. Fiero is a co-chair of the 2018 California Bankruptcy Forum. Every year
                                  since 2004, he has been named a Super Lawyer by San Francisco Magazine.
                                  He is also credited for his “highly constructive approach” in Chambers
                                  USA’s list of leading bankruptcy and restructuring lawyers and has been
                                  named every year since 2013 for his work in bankruptcy and creditor-debtor
                                  rights law by Best Lawyers in America. Mr. Fiero is admitted to practice in
                                  California and is resident in our San Francisco office.


                                  Representations
                                  Chapter 11 debtors: Tintri (Delaware); NewZoom Inc. (San Francisco); Arlie
                                  & Co. (Eugene, Oregon); ManagedStorage International (Delaware); Heller
                                  Ehrman LLP (San Francisco); Tri Valley Growers (Oakland); Webvan
                                  (Delaware)

                                  Creditors' committees: Chinos Holdings (J.Crew) (Virginia); Munchery Inc.
                                  (San Francisco); Imperial Toy (San Jose); PopExpert (San Francisco); Yellow
                                  Cab Cooperative (San Francisco); Rdio, Inc. (San Francisco); Deerfield Ranch
                                  Winery (Santa Rosa); Event Rentals (Delaware); BR Festivals (Santa Rosa);
                                  IntraOp Medical Corporation (San Jose); Orchard Supply Hardware
                                  (Delaware); Trident Microsystems (Delaware); Carinalli (Santa Rosa);
                                  Humboldt Creamery LLC (Santa Rosa); Pacific Lumber Company (Corpus
                                  Christi); The Billing Resource (San Jose); Prediwave Corporation (Oakland);




 www.pszjlaw.com                  LOS ANGELES    SAN FRANCISCO     COSTA MESA    NEW YORK   WILMINGTON, DE
         Case 18-12456-gs   Doc 223    Entered 12/08/20 19:24:10        Page 10 of 11

                       John D. Fiero (Cont.)



                       Crescent Jewelers (Oakland); Northpoint Communications (San Francisco);
                       Adesta Communications (Omaha); Western Integrated Networks (WinFirst)
                       (Denver); Metricom (San Jose)

                       Chapter 7 debtor in Beamreach Solar (San Jose)

                       Buyer in Achaogen chapter 11 case (Delaware)


                       Professional Affiliations
                       Trustee, UC Hastings College of the Law Foundation

                       Member, United States Bankruptcy Court for the Northern District of
                       California Bench-Bar Liaison Committee (2006 - 2009)

                       Chair, American Bar Association Real Property Section Litigation and
                       Dispute Resolution Committee (1998-2000)


                       Programs and Lectures
                       Bar Association of San Francisco, California Bankruptcy Forum, International
                       Women's Insolvency & Restructuring Confederation, American Bar
                       Association, American Bankruptcy Institute


                       Publications
                       Music Festival Insolvencies: What Happens When the Music Stops?
                       37 ABI Journal 48 (No. 4 April 2018), April 2018
                       Properly Structured Private Equity Fund Avoids Pension Withdrawal Liability
                       Pachulski Bulletin #11, December 2012
                       Creditor's Self-Interest Precludes Fee Reimbursement From the Estate
                       September 2012




www.pszjlaw.com        LOS ANGELES    SAN FRANCISCO    COSTA MESA     NEW YORK   WILMINGTON, DE
            Case 18-12456-gs     Doc 223      Entered 12/08/20 19:24:10         Page 11 of 11




150 California Street
15th Floor                   Gail S. Greenwood
San Francisco, CA
94111-4500                   Tel: 415.263.7000    |   ggreenwood@pszjlaw.com



EDUCATION                    Ms. Greenwood specializes in bankruptcy-related litigation. She has over
Amherst College (B.A.,
                             eighteen years' experience in civil litigation and bankruptcy, including
magna cum laude, 1988)       representation of chapter 11 trustees, debtors, creditors, and creditors'
                             committees in significant business bankruptcies. Ms. Greenwood has won
University of California     summary judgments in the prosecution of multimillion-dollar breach-of-
School of Law, Los Angeles
                             fiduciary-duty claims and defense of multimillion-dollar preference and
(J.D. 1993).
                             fraudulent-transfer claims. She has also successfully prosecuted state-court
BAR AND COURT
                             fraud and alter-ego claims against a series of ever-changing private entities.
ADMISSIONS                   Ms. Greenwood is a magna cum laude graduate of Amherst College and
California, 1994             received her J.D. from UCLA School of Law, where she was editor of the
                             Environmental Law Journal. She is listed in the 2019 edition of Best Lawyers
                             in America for her work in Bankruptcy and Creditor Debtor Rights /
                             Insolvency and Reorganization Law. She is admitted to practice in California
                             and is a resident of our San Francisco office.


                             Representations
                             Creditors' committees and liquidating trustees: Liberty Asset Management,
                             Rdio Inc., Fox & Hound/Champps, ERG Intermediate Holdings, The Billing
                             Resource, Clement and Ann Marie Carinalli, Humboldt Creamery, At Home

                             Chapter 11 debtors: SFX Entertainment, NewZoom Inc., Heller Ehrman LLP


                             Professional Affiliations
                             Member, Bar Association of San Francisco Commercial Law & Bankruptcy
                             Committee (2008-)

                             Member, International Women's Insolvency & Restructuring Confederation
                             (IWIRC) (Membership Chair, 2019; Events co-chair, 2018; Secretary, 2016-17)




www.pszjlaw.com              LOS ANGELES    SAN FRANCISCO     COSTA MESA     NEW YORK    WILMINGTON, DE
